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     6   HOLDINGS, LLC; PAUL KOZLOV;
         GSS GROUP, LLC; SAPA GROUP, LLC;
     7   GARY SHIRINYAN; IEVGENIIA SAPA;
         VLADIMIR HANIN; HJK TRADE, INC.;
     8   and HOVIK KOSTANDYAN
     9
                               UNITED STATES DISTRICT COURT
    10
              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
    11

    12
         REKO HOLDINGS, LLC,                          Case No.: 2:18-cv-07401-GW-FFM
    13
                   Plaintiff,
    14                                                AMP GROUP HOLDINGS, LLC,
                v.                                    PAUL KOZLOV, GSS GROUP, LLC,
    15                                                SAPA GROUP, LLC, GARY
         AMP GROUP HOLDINGS, INC., a                  SHIRINYAN, IEVGENIIA SAPA,
    16   Delaware      Corporation;      PAUL         VLADIMIR HANIN, HJK TRADE,
         KOZLOV; GSS GROUP LLC, a                     INC. AND HOVIC KOSTANDYAN’S
    17   California limited liability company;        ANSWER TO PLAINTIFF’S
         GARY SHIRINYAN; ILEVGENIA                    CORRECTED SECOND AMENDED
    18   SAPA aka EVGENIA SAPA aka                    COMPLAINT
         LEVGENIA SAPA; VLADIMIR
    19   HANIN; HJK TRADE, INC., a
         California    corporation;     HOVIK
    20   KOSTANDYAN; CITIBANK, N.A.;
         JP MORGAN CHASE BANK, N.A,;
    21   WELLS FARGO BANK, N.A.;
         GALINA VAYNTER; VAYDIM
    22   VAYNTER           aka         AVADY
         VAYNTER;          GV         GLOBAL
    23   COMMUNICATIONS,             INC.,   a
         California Corporation; DIRECT
    24   COMMUNICATIONS,             INC.,   a
         California Corporation, REGINA
    25   KATS; ARTHUR KATS; LEGACY
         RESOURCES GROUP, INC., an
    26   unknown business entity; YITZHAK
         KLEYMAN, and DOES 1 – 100,
    27   inclusive,
                         Defendants.
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     1         Defendants, AMP GROUP HOLDINGS, LLC (“AMP”), PAUL KOZLOV
     2   (“KOZLOV”), GSS GROUP, LLC (“GSS”), SAPA GROUP, LLC (“SAPA
     3   GROUP”), GARY SHIRINYAN (“SHIRINYAN”), IEVGENIIA SAPA (“SAPA”),
     4   erroneously sued as ILEVGENIA SAPA aka EVGENIA SAPA aka LEVGENIA
     5   SALA, VLADIMIR HANIN (“HANIN”), HJK TRADE, INC. (“HJK”), AND
     6   HOVIC KOSTANDYAN (“KOSTANDYAN”) (collectively the “ANSWERING
     7   DEFENDANTS”) hereby answer the Corrected Second Amended Complaint
     8   (“SAC”) of Plaintiff, REKO HOLDINGS, LLC (“REKO” or “PLAINTIFF”), in the
     9   above-captioned matter as follows:
    10                                       THE PARTIES
    11          1.    In answering Paragraph 1 of the SAC, the ANSWERING
    12   DEFENDANTS admit that at all times alleged within the SAC, Defendant Regina
    13   Kats (“REGINA”) was the sole manager of PLAINTIFF and was responsible for
    14   and had the right to make and/or engage in all decisions and/or actions on behalf of
    15   PLAINTIFF. The ANSWERING DEFENDANTS lack sufficient information or
    16   belief to either admit or deny the remaining allegations set forth by PLAINTIFF
    17   within Paragraph 1 of the SAC, and on that basis, denies each and every remaining
    18   allegation contained therein.
    19          2.    In answering Paragraph 2 of the SAC, the ANSWERING
    20   DEFENDANTS are without sufficient information or belief on which to either
    21   admit or deny the allegations contained therein, and on that basis, denies each and
    22   every allegation contained therein.
    23          3.    In answering Paragraph 3 of the SAC, the ANSWERING
    24   DEFENDANTS are without sufficient information or belief on which to either
    25   admit or deny the allegations contained therein, and on that basis, denies each and
    26   every allegation contained therein.
    27          4.    In answering Paragraph 4 of the SAC, upon information and belief the
    28   ANSWERING DEFENDANTS admit that at all times mentioned within the SAC
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     1   that Defendant Galina Vaynter (“GALINA”) was and is an individual, residing in
     2   the County of Los Angeles, State of California.
     3          5.    In answering Paragraph 5 of the SAC, upon information and belief the
     4   ANSWERING DEFENDANTS admit that at all times mentioned within the SAC
     5   that Defendant Vadim Vaynter (“VADIM”) was and is an individual, residing in the
     6   County of Los Angeles, State of California.
     7          6.    In answering Paragraph 6 of the SAC, upon information and belief the
     8   ANSWERING DEFENDANTS admit that at all times mentioned within the SAC
     9   that GALINA and VADIM were married.
    10          7.    In answering Paragraph 7 of the SAC, upon information and belief the
    11   ANSWERING DEFENDANTS admit that at all times mentioned within the SAC
    12   that Defendant REGINA was and is an individual, residing in the County of Los
    13   Angeles, State of California.
    14          8.    In answering Paragraph 8 of the SAC, upon information and belief the
    15   ANSWERING DEFENDANTS admit that at all times mentioned within the SAC
    16   that Defendant Arthur Katz (“ARTHUR”) was and is an individual, residing in the
    17   County of Los Angeles, State of California.
    18          9.    In answering Paragraph 9 of the SAC, the ANSWERING
    19   DEFENDANTS admit that REGINA was and is the daughter of VADIM and
    20   GALINA.
    21          10. In answering Paragraph 10 of the SAC, upon information and belief
    22   the ANSWERING DEFENDANTS admit that at all times mentioned within the
    23   SAC that REGINA and ARTHUR were married.
    24          11. In answering Paragraph 11 of the SAC, upon information and belief,
    25   the ANSWERING DEFENDANTS admit that Gopher Protocol, Inc. (“GOPHER”)
    26   is a publicly traded Nevada Corporation. The ANSWERING DEFENDANTS lack
    27   sufficient information or belief to either admit or deny the remaining allegations set
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     1   forth by PLAINTIFF within Paragraph 11 of the SAC, and on that basis, denies each
     2   and every remaining allegation contained therein.
     3          12. In answering Paragraph 12 of the SAC, upon information and belief,
     4   the ANSWERING DEFENDANTS admit that Defendant Direct Communications,
     5   Inc. (“DCI”) was a California Corporation, doing business in the County of Los
     6   Angeles at all times mentioned within the SAC.                       The ANSWERING
     7   DEFENDANTS lack sufficient information or belief to either admit or deny the
     8   remaining allegations set forth by PLAINTIFF within Paragraph 12 of the SAC, and
     9   on that basis, denies each and every remaining allegation contained therein.
    10          13. In answering Paragraph 13 of the SAC, upon information and belief,
    11   the   ANSWERING          DEFENDANTS           admit     that   Defendant      GV     Global
    12   Communications, Inc. (“GV”) is a suspended California Corporation and doing
    13   business in the County of Los Angeles. The ANSWERING DEFENDANTS lack
    14   sufficient information or belief to either admit or deny the remaining allegations set
    15   forth by PLAINTIFF within Paragraph 13 of the SAC, and on that basis, denies each
    16   and every remaining allegation contained therein.
    17          14. In answering Paragraph 14 of the SAC, upon information and belief,
    18   the ANSWERING DEFENDANTS admit that Defendant Legacy Resources Group,
    19   Inc. (“LEGACY”) was doing business in the State of California, County of Los
    20   Angeles. The ANSWERING DEFENDANTS lack sufficient information or belief
    21   to either admit or deny the remaining allegations set forth by PLAINTIFF within
    22   Paragraph 14 of the SAC, and on that basis, denies each and every remaining
    23   allegation contained therein.
    24          15. In answering Paragraph 15 of the SAC, upon information and belief,
    25   the ANSWERING DEFENDANTS admit the allegations set forth therein.
    26          16. In answering Paragraph 16 of the SAC, upon information and belief,
    27   the ANSWERING DEFENDANTS admit the allegations set forth therein.
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     1          17. In answering Paragraph 17 of the SAC, the ANSWERING
     2   DEFENDANTS lack sufficient information or belief to either admit or deny the
     3   allegations set forth therein, and on that basis, denies each and every remaining
     4   allegation contained therein.
     5          18. In answering Paragraph 18 of the SAC, the ANSWERING
     6   DEFENDANTS admit that HANIN is an individual, residing in the County of Los
     7   Angeles, State of California.
     8          19. In answering Paragraph 19 of the SAC, the ANSWERING
     9   DEFENDANTS admit that HJK is a validly existing California Corporation and
    10   doing business in the County of Los Angeles.
    11          20. In answering Paragraph 20 of the SAC, the ANSWERING
    12   DEFENDANTS admit that KOSTANDYAN is an individual, residing in the County
    13   of Los Angeles, State of California. In answering the remaining allegations set forth
    14   within Paragraph 20 of the SAC, the ANSWERING DEFENDANTS admit that
    15   KOSTANDYAN is a Director of HJK.
    16          21. In answering Paragraph 21 of the SAC, the ANSWERING
    17   DEFENDANTS deny the allegations contained therein.
    18          22. In answering Paragraph 22 of the SAC, the ANSWERING
    19   DEFENDANTS admit that SHIRINYAN is an individual, residing in the County of
    20   Los Angeles, State of California.
    21          23. In answering Paragraph 23 of the SAC, the ANSWERING
    22   DEFENDANTS admit that SAPA is an individual, residing in the County of Los
    23   Angeles, State of California.
    24          24. In answering Paragraph 24 of the SAC, the ANSWERING
    25   DEFENDANTS admit that SHIRINYAN and SAPA are married.
    26          25. In answering Paragraph 25 of the SAC, the ANSWERING
    27   DEFENDANTS admit that GSS is a validly existing California Limited Liability
    28   Company and doing business in the County of Los Angeles. In answering the
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     1   remaining allegations set forth within Paragraph 25, the ANSWERING
     2   DEFENDANTS deny that SHIRINYAN is listed as a manager of GSS.
     3          26. In answering Paragraph 26 of the SAC, the ANSWERING
     4   DEFENDANTS deny the allegations contained therein.
     5          27. In answering Paragraph 27 of the SAC, the ANSWERING
     6   DEFENDANTS admit that SAPA GROUP is a California Limited Liability
     7   Company and doing business in the County of Los Angeles. The ANSWERING
     8   DEFENDANTS deny the remaining allegations set forth within Paragraph 27 of the
     9   SAC.
    10          28. In answering Paragraph 28 of the SAC, the ANSWERING
    11   DEFENDANTS deny the allegations contained therein.
    12          29. In answering paragraph 29 of the SAC, the ANSWERING
    13   DEFENDANTS admit that AMP is a valid Delaware Corporation. In answering the
    14   remaining allegations of Paragraph 29, the ANSWERING DEFENDANTS are
    15   without sufficient information or belief on which to either admit or deny the
    16   remaining allegations contained therein, and on that basis, denies each and every
    17   allegation contained therein.
    18          30. In answering Paragraph 30 of the SAC, the ANSWERING
    19   DEFENDANTS admit that KOZLOV was and is an individual residing in the State
    20   of California, County of Los Angeles. In answering the remaining allegations of
    21   Paragraph 30, the ANSWERING DEFENDANTS deny that KOZLOV was a
    22   manager of AMP as AMP is a corporation and not a limited liability company and
    23   thus does not list managers.
    24          31. In answering Paragraph 31 of the SAC, the ANSWERING
    25   DEFENDANTS deny the allegations contained therein.
    26          32. In answering Paragraph 32 of the SAC, the ANSWERING
    27   DEFENDANTS are without sufficient information or belief on which to either
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     1   admit or deny the allegations contained therein, and on that basis, denies each and
     2   every allegation contained therein.
     3          33. In answering Paragraph 33 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the allegations contained therein, and on that basis, denies each and
     6   every allegation contained therein.
     7          34. In answering Paragraph 34 of the SAC, the ANSWERING
     8   DEFENDANTS are without sufficient information or belief on which to either
     9   admit or deny the allegations contained therein, and on that basis, denies each and
    10   every allegation contained therein.
    11          35. In answering Paragraph 35 of the SAC, this paragraph contains no
    12   factual allegations and therefore the ANSWERING DEFENDANTS are not
    13   required to provide a response.
    14          36. In answering Paragraph 36 of the SAC, this paragraph contains no
    15   factual allegations and therefore the ANSWERING DEFENDANTS are not
    16   required to provide a response.
    17          37. In answering Paragraph 37 of the SAC, this paragraph contains no
    18   factual allegations and therefore the ANSWERING DEFENDANTS are not
    19   required to provide a response.
    20          38. In answering Paragraph 38 of the SAC, this paragraph contains no
    21   factual allegations and therefore the ANSWERING DEFENDANTS are not
    22   required to provide a response.
    23          39. In answering Paragraph 39 of the SAC, the ANSWERING
    24   DEFENDANTS deny that any of them, jointly or individually, are liable in any
    25   manner for the allegations set forth within the SAC and as such the ANSWERING
    26   DEFENDANTS deny that their actions have or will cause any damages to
    27   PLAINTIFF.
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     1                              JURISDICTION AND VENUE
     2          40. In answering Paragraph 40 of the SAC, the ANSWERING
     3   DEFENDANTS are without sufficient information or belief on which to either
     4   admit or deny the allegations contained therein, and on that basis, denies each and
     5   every allegation contained therein.
     6          41. In answering Paragraph 41 of the SAC, the ANSWERING
     7   DEFENDANTS are without sufficient information or belief on which to either
     8   admit or deny the allegations contained therein, and on that basis, denies each and
     9   every allegation contained therein.
    10          42. In answering Paragraph 42 of the SAC, the ANSWERING
    11   DEFENDANTS are without sufficient information or belief on which to either
    12   admit or deny the allegations contained therein, and on that basis, denies each and
    13   every allegation contained therein.
    14                               FACTUAL BACKGROUND
    15          43. In answering Paragraph 43 of the SAC, the ANSWERING
    16   DEFENDANTS are without sufficient information or belief on which to either
    17   admit or deny the allegations contained therein, and on that basis, denies each and
    18   every allegation contained therein.
    19          44. In answering Paragraph 44 of the SAC, the ANSWERING
    20   DEFENDANTS admit that REGINA, the former sole individual in charge and
    21   responsible for PLAINTIFF filed a false police report with the Los Angeles Police
    22   Department against the applicable ANSWERING DEFENDANTS.                                 The
    23   ANSWERING DEFENDANTS also admit that Plaintiff filed a completely false and
    24   inaccurate Complaint and First Amended Complaint in the Los Angeles Superior
    25   Court wherein Plaintiff wrongfully and in complete bad-faith, set forth completely
    26   erroneous allegations against some of the ANSWERING DEFENDANTS all of
    27   which Plaintiff is now admitting within this SAC that it made such false allegations.
    28   The ANSWERING DEFENDANTS deny that any of them, either jointly or
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     1   individually, engaged in any actions which resulted in a theft by these
     2   ANSWERING DEFENDANTS of any of Plaintiff’s properties. In answering the
     3   remaining allegations set forth within Paragraph 44 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the remaining allegations contained therein, and on that basis, denies
     6   each and every allegation contained therein.
     7          45. In answering Paragraph 45 of the SAC, the ANSWERING
     8   DEFENDANTS deny the allegations contained therein.
     9   A. The Conspiracy
    10          46. In answering Paragraph 46 of the SAC, the ANSWERING
    11   DEFENDANTS are without sufficient information or belief on which to either
    12   admit or deny the allegations contained therein, and on that basis, denies each and
    13   every allegation contained therein.
    14          47. In answering Paragraph 47 of the SAC, the ANSWERING
    15   DEFENDANTS are without sufficient information or belief on which to either
    16   admit or deny the allegations contained therein, and on that basis, denies each and
    17   every allegation contained therein.
    18          48. In answering Paragraph 48 of the SAC, the ANSWERING
    19   DEFENDANTS are without sufficient information or belief on which to either
    20   admit or deny the allegations contained therein, and on that basis, denies each and
    21   every allegation contained therein.
    22          49. In answering Paragraph 49 of the SAC, the ANSWERING
    23   DEFENDANTS admit that REGINA, as the sole individual authorized to act on
    24   behalf of the PLAINTIFF at the alleged time, allowed the ANSWERING
    25   DEFENDANTS to purchase Gopher Protocol, Inc. stock in exchange for valid
    26   consideration. The ANSWERING DEFENDANTS also admit that GALINA and
    27   REGINA unlawfully published an erroneous police report wherein they each falsely
    28   alleged that the ANSWERING DEFENDANTS physically stole the PLAINTIFF’S
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     1   stock certificates, all of which PLAINTIFF is now admitting to be completely false
     2   and made up by REGINA in bad-faith while she was the manager of the PLAINTIFF
     3   in bad-faith. The ANSWERING DEFENDANTS deny that any of them, either
     4   jointly or individually, engaged in any stock market manipulation schemes using
     5   PLAINTIFF’S assets for capital. The ANSWERING DEFENDANTS also deny
     6   that the stock in Gopher Protocol, Inc. which was sold to the ANSWERING
     7   DEFENDANTS for adequate consideration was sold at such an absurdly low price
     8   to signal to these ANSWERING DEFENDANTS that the property was stolen. The
     9   ANSWERING DEFENDANTS also deny that the stock that they did validly
    10   purchase was stolen, but rather such transactions were entirely valid as adequate
    11   consideration was given.       The ANSWERING DEFENDANTS also deny that
    12   SHIRINYAN unlawfully threatened GALINA, in any manner. As to the remaining
    13   allegations set forth within Paragraph 49 of the SAC, the ANSWERING
    14   DEFENDANTS are without sufficient information or belief on which to either
    15   admit or deny the remaining allegations contained therein, and on that basis, denies
    16   each and every allegation contained therein.
    17          50. In answering Paragraph 50 of the SAC, the ANSWERING
    18   DEFENDANTS deny that any of them, either jointly or individually, forged
    19   PLAINTIFF’S endorsement on checks made payable to PLAINTIFF.                            The
    20   ANSWERING DEFENDANTS also deny that any of them, either jointly or
    21   individually, converted the proceeds of the alleged illicit sales to their own
    22   continuing benefit. As to the remaining allegations set forth within Paragraph 50 of
    23   the SAC, the ANSWERING DEFENDANTS are without sufficient information or
    24   belief on which to either admit or deny the remaining allegations contained therein,
    25   and on that basis, denies each and every allegation contained therein.
    26          51. In answering Paragraph 51 of the SAC, the ANSWERING
    27   DEFENDANTS deny that any of them, either jointly or individually, were involved
    28   in any complex, corrupt, and sophisticated scheme and conspiracy to deprive
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     1   PLAINTIFF of any of its’ assets. As to the remaining allegations set forth within
     2   Paragraph 51 of the SAC, the ANSWERING DEFENDANTS are without sufficient
     3   information or belief on which to either admit or deny the remaining allegations
     4   contained therein, and on that basis, denies each and every allegation contained
     5   therein.
     6          52. In answering Paragraph 52 of the SAC, the ANSWERING
     7   DEFENDANTS are without sufficient information or belief on which to either
     8   admit or deny the allegations contained therein, and on that basis, denies each and
     9   every allegation contained therein.
    10          53. In answering Paragraph 53 of the SAC, the ANSWERING
    11   DEFENDANTS are without sufficient information or belief on which to either
    12   admit or deny the allegations contained therein, and on that basis, denies each and
    13   every allegation contained therein.
    14          54. In answering Paragraph 54 of the SAC, the ANSWERING
    15   DEFENDANTS are without sufficient information or belief on which to either
    16   admit or deny the allegations contained therein, and on that basis, denies each and
    17   every allegation contained therein.
    18          55. In answering Paragraph 55 of the SAC, the ANSWERING
    19   DEFENDANTS are without sufficient information or belief on which to either
    20   admit or deny the allegations contained therein, and on that basis, denies each and
    21   every allegation contained therein.
    22          56. In answering Paragraph 56 of the SAC, the ANSWERING
    23   DEFENDANTS are without sufficient information or belief on which to either
    24   admit or deny the allegations contained therein, and on that basis, denies each and
    25   every allegation contained therein.
    26   B. The Transfers
    27          57. In answering Paragraph 57 of the SAC, the ANSWERING
    28   DEFENDANTS admit that PLAINTIFF is the largest shareholder of Gopher
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     1   Protocol, Inc. in that the actions of PLAINTIFF and Gopher Protocol, Inc. are one
     2   and the same. The ANSWERING DEFENDANTS deny that PLAINTIFF’S sale of
     3   stock to ANSWERING DEFENDANTS was not voluntary or completed in a
     4   wrongful manner. In answering the remaining allegations set forth within Paragraph
     5   57 of the SAC, the ANSWERING DEFENDANTS are without sufficient
     6   information or belief on which to either admit or deny the remaining allegations
     7   contained therein, and on that basis, denies each and every allegation contained
     8   therein.
     9          58. In answering Paragraph 58 of the SAC, the ANSWERING
    10   DEFENDANTS           admit    that    PLAINTIFF        sold    to    the   ANSWERING
    11   DEFENDANTS, for valid consideration, the alleged stock certificates in Gopher
    12   Protocol, Inc. The ANSWERING DEFENDANTS deny that any of them, either
    13   jointly or individually, engaged in any act of fraudulently concealing the existence
    14   of any transfer of stock certificates from the PLAINTIFF to the ANSWERING
    15   DEFENDANTS. The ANSWERING DEFENDANTS deny that PLAINTIFF did
    16   not receive any of the monies given by the ANSWERING DEFENDANTS to
    17   PLAINTIFF or its’ authorized agents for the purchase and sale of such alleged stock
    18   in Gopher Protocol, Inc.             The ANSWERING DEFENDANTS deny that
    19   PLAINTIFF did not authorize the transfers and disposition of stock as described
    20   within the SAC. The ANSWERING DEFENDANTS deny that they are illegally
    21   retaining or detaining any stock in Gopher Protocol, Inc. In answering the remaining
    22   allegations set forth within Paragraph 58 of the SAC, the ANSWERING
    23   DEFENDANTS are without sufficient information or belief on which to either
    24   admit or deny the remaining allegations contained therein, and on that basis, denies
    25   each and every allegation contained therein.
    26          59. In answering Paragraph 59 of the SAC, the ANSWERING
    27   DEFENDANTS admit that 1,000,000 shares of PLAINTIFF’S stock in Gopher
    28   Protocol, Inc. was sold to SAPA for valid consideration and that said stock
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     1   certificate was wrongfully never delivered to SAPA despite Gopher Protocol, Inc.
     2   acknowledging the validity of such stock purchase within their required online SEC
     3   Public Disclosure Statements and despite SAPA’S previous repetitive demands.
     4   The ANSWERING DEFENDANTS deny that the failure to deliver said stock to
     5   Sapa was related to a failure to pay or that “thieves fell out” as alleged within
     6   Paragraph 59 of the SAC.            The ANSWERING DEFENDANTS deny that
     7   PLAINTIFF did not authorize said transfer of shares to SAPA. In answering the
     8   remaining allegations set forth within Paragraph 59 of the SAC, the ANSWERING
     9   DEFENDANTS are without sufficient information or belief on which to either
    10   admit or deny the remaining allegations contained therein, and on that basis, denies
    11   each and every allegation contained therein.
    12          60. In answering Paragraph 60 of the SAC, the ANSWERING
    13   DEFENDANTS deny that any of them, either jointly or individually, stole
    14   REGINA’S identity and forged her signature.               In answering the remaining
    15   allegations set forth within Paragraph 60 of the SAC, the ANSWERING
    16   DEFENDANTS are without sufficient information or belief on which to either
    17   admit or deny the remaining allegations contained therein, and on that basis, denies
    18   each and every allegation contained therein.
    19          61. In answering Paragraph 61 of the SAC, the ANSWERING
    20   DEFENDANTS admit that they purchased shares of stock in Gopher Protocol, Inc.
    21   from Direct Communications, Inc. for valid consideration.               In answering the
    22   remaining allegations set forth within Paragraph 61 of the SAC, the ANSWERING
    23   DEFENDANTS are without sufficient information or belief on which to either
    24   admit or deny the remaining allegations contained therein, and on that basis, denies
    25   each and every allegation contained therein.
    26          62. In answering Paragraph 62 of the SAC, the ANSWERING
    27   DEFENDANTS are without sufficient information or belief on which to either
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     1   admit or deny the allegations contained therein, and on that basis, denies each and
     2   every allegation contained therein.
     3          63. In answering Paragraph 63 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the allegations contained therein, and on that basis, denies each and
     6   every allegation contained therein.
     7          64. In answering Paragraph 64 of the SAC, the ANSWERING
     8   DEFENDANTS deny the allegations set forth therein.
     9          65. In answering Paragraph 65 of the SAC, the ANSWERING
    10   DEFENDANTS deny the allegations set forth therein.
    11          66. In answering Paragraph 66 of the SAC, the ANSWERING
    12   DEFENDANTS admit that PLAINTIFF, REGINA, and GALINA caused there to
    13   be filed an erroneous police report with the Los Angeles Police Department wherein
    14   the aforementioned parties erroneously and in bad-faith unlawfully accused
    15   SHIRINYIAN of stealing the alleged stock certificates.                The ANSWERING
    16   DEFENDANTS deny that any shares of stock were wrongfully stolen from
    17   PLAINTIFF. In answering the remaining allegations set forth within Paragraph 66
    18   of the SAC, the ANSWERING DEFENDANTS are without sufficient information
    19   or belief on which to either admit or deny the remaining allegations contained
    20   therein, and on that basis, denies each and every allegation contained therein.
    21          67. In answering Paragraph 67 of the SAC, the ANSWERING
    22   DEFENDANTS are without sufficient information or belief on which to either
    23   admit or deny the allegations contained therein, and on that basis, denies each and
    24   every allegation contained therein.
    25          68. In answering Paragraph 68 of the SAC, the ANSWERING
    26   DEFENDANTS deny that PLAINTIFF has never consented to or authorized the sale
    27   or transfer of any shares of Gopher Protocol, Inc. that it owned and deny that
    28   Plaintiff has never received any proceeds from any transfer thereto.                    The
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     1   ANSWERING DEFENDANTS deny that the shares transferred to them were stolen
     2   from and converted from PLAINTIFF to the ANSWERING DEFENDANTS and
     3   deny that the ANSWERING DEFENDANTS, either jointly or individually were
     4   part of any conspiracy as set forth in the SAC. In answering the remaining
     5   allegations set forth within Paragraph 68 of the SAC, the ANSWERING
     6   DEFENDANTS are without sufficient information or belief on which to either
     7   admit or deny the remaining allegations contained therein, and on that basis, denies
     8   each and every allegation contained therein.
     9          69. In answering Paragraph 69 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the allegations contained therein, and on that basis, denies each and
    12   every allegation contained therein.
    13          70. In answering Paragraph 70 of the SAC, the ANSWERING
    14   DEFENDANTS admit that PLAINTIFF unlawfully commenced this action by
    15   alleging   completely      inaccurate     allegations    against     the    ANSWERING
    16   DEFENDANTS. In answering the remaining allegations set forth within Paragraph
    17   70 of the SAC, the ANSWERING DEFENDANTS are without sufficient
    18   information or belief on which to either admit or deny the remaining allegations
    19   contained therein, and on that basis, denies each and every allegation contained
    20   therein.
    21          71. In answering Paragraph 71 of the SAC, the ANSWERING
    22   DEFENDANTS admit that they purchased the alleged stock certificates in Gopher
    23   Protocol, Inc. but deny that the ANSWERING DEFENDANTS failed to pay
    24   PLAINTIFF any consideration for the stock which was transferred to them.
    25          72. In answering Paragraph 72 of the SAC, the ANSWERING
    26   DEFENDANTS are without sufficient information or belief on which to either
    27   admit or deny the allegations contained therein, and on that basis, denies each and
    28   every allegation contained therein.
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     1          73. In answering Paragraph 73 of the SAC, the ANSWERING
     2   DEFENDANTS deny the allegations set forth therein.
     3          74. In answering Paragraph 74 of the SAC, the ANSWERING
     4   DEFENDANTS deny the allegations set forth therein.
     5          75. In answering Paragraph 75 of the SAC, the ANSWERING
     6   DEFENDANTS are without sufficient information or belief on which to either
     7   admit or deny the allegations contained therein, and on that basis, denies each and
     8   every allegation contained therein.
     9                               FIRST CAUSE OF ACTION
    10                                        CONVERSION
    11              (Against the TRANSFER DEFENDANTS and DOES 70-80)
    12       76.       In answering Paragraph 76 of the SAC, the ANSWERING
    13   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    14   through 75 of the SAC, as though fully set forth herein.
    15       77.      In answering Paragraph 77 of the SAC, the ANSWERING
    16   DEFENDANTS deny the allegations set forth therein.
    17       78.      In answering Paragraph 78 of the SAC, the ANSWERING
    18   DEFENDANTS are without sufficient information or belief on which to either
    19   admit or deny the allegations contained therein, and on that basis, denies each and
    20   every allegation contained therein.
    21       79.      In answering Paragraph 79 of the SAC, the ANSWERING
    22   DEFENDANTS are without sufficient information or belief on which to either
    23   admit or deny the allegations contained therein, and on that basis, denies each and
    24   every allegation contained therein.
    25       80.      In answering Paragraph 80 of the SAC, the ANSWERING
    26   DEFENDANTS are without sufficient information or belief on which to either
    27   admit or deny the allegations contained therein, and on that basis, denies each and
    28   every allegation contained therein.
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     1       81.      In answering Paragraph 81 of the SAC, the ANSWERING
     2   DEFENDANTS are without sufficient information or belief on which to either
     3   admit or deny the allegations contained therein, and on that basis, denies each and
     4   every allegation contained therein.
     5       82.      In answering Paragraph 82 of the SAC, the ANSWERING
     6   DEFENDANTS are without sufficient information or belief on which to either
     7   admit or deny the allegations contained therein, and on that basis, denies each and
     8   every allegation contained therein.
     9       83.      In answering Paragraph 83 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the allegations contained therein, and on that basis, denies each and
    12   every allegation contained therein.
    13       84.      In answering Paragraph 84 of the SAC, the ANSWERING
    14   DEFENDANTS are without sufficient information or belief on which to either
    15   admit or deny the allegations contained therein, and on that basis, denies each and
    16   every allegation contained therein.
    17       85.      In answering Paragraph 85 of the SAC, the ANSWERING
    18   DEFENDANTS are without sufficient information or belief on which to either
    19   admit or deny the allegations contained therein, and on that basis, denies each and
    20   every allegation contained therein.
    21                             SECOND CAUSE OF ACTION
    22                                        CONVERSION
    23                          (Against the BANKS and DOES 81-85)
    24       86.      In answering Paragraph 86 of the SAC, the ANSWERING
    25   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    26   through 85 of the SAC, as though fully set forth herein.
    27       87.      In answering Paragraph 87 of the SAC, the ANSWERING
    28   DEFENDANTS deny the allegations set forth therein.
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     1       88.      In answering Paragraph 88 of the SAC, the ANSWERING
     2   DEFENDANTS are without sufficient information or belief on which to either
     3   admit or deny the allegations contained therein, and on that basis, denies each and
     4   every allegation contained therein.
     5       89.      In answering Paragraph 89 of the SAC, the ANSWERING
     6   DEFENDANTS are without sufficient information or belief on which to either
     7   admit or deny the allegations contained therein, and on that basis, denies each and
     8   every allegation contained therein.
     9       90.      In answering Paragraph 90 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the allegations contained therein, and on that basis, denies each and
    12   every allegation contained therein.
    13       91.      In answering Paragraph 91 of the SAC, the ANSWERING
    14   DEFENDANTS are without sufficient information or belief on which to either
    15   admit or deny the allegations contained therein, and on that basis, denies each and
    16   every allegation contained therein.
    17       92.      In answering Paragraph 92 of the SAC, the ANSWERING
    18   DEFENDANTS are without sufficient information or belief on which to either
    19   admit or deny the allegations contained therein, and on that basis, denies each and
    20   every allegation contained therein.
    21                               THIRD CAUSE OF ACTION
    22                                  UNJUST ENRICHMENT
    23              (Against the TRANSFER DEFENDANTS and DOES 70-80)
    24       93.      In answering Paragraph 93 of the SAC, the ANSWERING
    25   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    26   through 92 of the SAC, as though fully set forth herein.
    27       94.      In answering Paragraph 94 of the SAC, the ANSWERING
    28   DEFENDANTS deny any wrongdoing as set forth within the SAC against any of
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     1   them. In answering the remaining allegations set forth within Paragraph 94 of the
     2   SAC, the ANSWERING DEFENDANTS are without sufficient information or
     3   belief on which to either admit or deny the remaining allegations contained therein,
     4   and on that basis, denies each and every allegation contained therein.
     5         95.    In answering Paragraph 95 of the SAC, the ANSWERING
     6   DEFENDANTS deny that any of them, either jointly or individually, engaged in
     7   any unlawful misappropriation of PLAINTIFF’S stock and proceeds of alleged
     8   sales, and unjust enrichment as alleged within the SAC. In answering the remaining
     9   allegations set forth within Paragraph 95 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the remaining allegations contained therein, and on that basis, denies
    12   each and every allegation contained therein.
    13         96.    In answering Paragraph 96 of the SAC, the ANSWERING
    14   DEFENDANTS deny that they, either jointly or individually, are liable to
    15   PLAINTIFF for any sums of monies. In answering the remaining allegations set
    16   forth within Paragraph 96 of the SAC, the ANSWERING DEFENDANTS are
    17   without sufficient information or belief on which to either admit or deny the
    18   remaining allegations contained therein, and on that basis, denies each and every
    19   allegation contained therein.
    20         97.    To the extent the allegations in Paragraph 97 of the SAC constitute
    21   legal arguments or conclusions, no answer is required. In answering the remaining
    22   allegations set forth within Paragraph 97 of the SAC, the ANSWERING
    23   DEFENDANTS are without sufficient information or belief on which to either
    24   admit or deny the remaining allegations contained therein, and on that basis, denies
    25   each and every allegation contained therein.
    26   ///
    27   ///
    28   ///
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     1                             FOURTH CAUSE OF ACTION
     2                  VIOLATION OF CALIFORNIA PENAL CODE §496
     3                (Against the TRANSFER DEFENDANTS and DOES 70-80)
     4         98.     In answering Paragraph 98 of the SAC, the ANSWERING
     5   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
     6   through 97 of the SAC, as though fully set forth herein.
     7         99.     To the extend the allegations in Paragraph 99 of the SAC constitute
     8   legal arguments or legal conclusions, no answer is required. In answering the
     9   remaining allegations set forth within Paragraph 99 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the remaining allegations contained therein, and on that basis, denies
    12   each and every allegation contained therein.
    13         100.    In answering Paragraph 100 of the SAC, the ANSWERING
    14   DEFENDANTS are without sufficient information or belief on which to either
    15   admit or deny the allegations contained therein, and on that basis, denies each and
    16   every allegation contained therein.
    17         101.    In answering Paragraph 101 of the SAC, the ANSWERING
    18   DEFENDANTS are without sufficient information or belief on which to either
    19   admit or deny the allegations contained therein, and on that basis, denies each and
    20   every allegation contained therein.
    21         102.    To the extent the allegations in Paragraph 102 of the SAC constitute
    22   legal arguments or conclusions, no answer is required. In answering the remaining
    23   allegations set forth within Paragraph 102 of the SAC, the ANSWERING
    24   DEFENDANTS are without sufficient information or belief on which to either
    25   admit or deny the remaining allegations contained therein, and on that basis, denies
    26   each and every allegation contained therein.
    27   ///
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     1                               FIFTH CAUSE OF ACTION
     2                                        NEGLIGENCE
     3                          (Against the BANKS and DOES 81-85)
     4       103.     In answering Paragraph 103 of the SAC, the ANSWERING
     5   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
     6   through 102 of the SAC, as though fully set forth herein.
     7       104.     To the extent the allegations in Paragraph 104 of the SAC constitute
     8   legal arguments or conclusions, no answer is required. In answering the remaining
     9   allegations set forth within Paragraph 104 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the remaining allegations contained therein, and on that basis, denies
    12   each and every allegation contained therein.
    13       105.     To the extent the allegations in Paragraph 105 of the SAC constitute
    14   legal arguments or conclusions, no answer is required. In answering the remaining
    15   allegations set forth within Paragraph 105 of the SAC, the ANSWERING
    16   DEFENDANTS are without sufficient information or belief on which to either
    17   admit or deny the remaining allegations contained therein, and on that basis, denies
    18   each and every allegation contained therein.
    19       106.     In answering Paragraph 106 of the SAC, the ANSWERING
    20   DEFENDANTS are without sufficient information or belief on which to either
    21   admit or deny the allegations contained therein, and on that basis, denies each and
    22   every allegation contained therein.
    23       107.     In answering Paragraph 107 of the SAC, the ANSWERING
    24   DEFENDANTS deny that GSS furnished any false, forged, and/or inconsistent
    25   information to Defendant Citibank in connection with stock certificate nos. 368,
    26   369, and 370. In answering the remaining allegations set forth within Paragraph
    27   107 of the SAC, the ANSWERING DEFENDANTS are without sufficient
    28   information or belief on which to either admit or deny the remaining allegations
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     1   contained therein, and on that basis, denies each and every allegation contained
     2   therein.
     3       108.     In answering Paragraph 108 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the allegations contained therein, and on that basis, denies each and
     6   every allegation contained therein.
     7       109.     In answering Paragraph 109 of the SAC, the ANSWERING
     8   DEFENDANTS are without sufficient information or belief on which to either
     9   admit or deny the allegations contained therein, and on that basis, denies each and
    10   every allegation contained therein.
    11       110.     In answering Paragraph 110 of the SAC, the ANSWERING
    12   DEFENDANTS are without sufficient information or belief on which to either
    13   admit or deny the allegations contained therein, and on that basis, denies each and
    14   every allegation contained therein.
    15       111.     In answering Paragraph 111 of the SAC, the ANSWERING
    16   DEFENDANTS are without sufficient information or belief on which to either
    17   admit or deny the allegations contained therein, and on that basis, denies each and
    18   every allegation contained therein.
    19       112.     In answering Paragraph 112 of the SAC, the ANSWERING
    20   DEFENDANTS are without sufficient information or belief on which to either
    21   admit or deny the allegations contained therein, and on that basis, denies each and
    22   every allegation contained therein.
    23       113.     In answering Paragraph 113, the ANSWERING DEFENDANTS deny
    24   that any of them, either jointly or individually, engaged in any action or manner to
    25   fraudulently transfer part of a controlling interest in a publicly traded corporation
    26   with documentation that was obviously forged.              In answering the remaining
    27   allegations set forth within Paragraph 113 of the SAC, the ANSWERING
    28   DEFENDANTS are without sufficient information or belief on which to either
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     1   admit or deny the remaining allegations contained therein, and on that basis, denies
     2   each and every allegation contained therein.
     3       114.     In answering Paragraph 114 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the allegations contained therein, and on that basis, denies each and
     6   every allegation contained therein.
     7       115.     To the extent the allegations in Paragraph 115 of the SAC constitute
     8   legal arguments or legal conclusions, no answer is required. In answering the
     9   remaining allegations set forth within Paragraph 115 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the remaining allegations contained therein, and on that basis, denies
    12   each and every allegation contained therein.
    13       116.     To the extent the allegations in Paragraph 116 of the SAC constitute
    14   legal arguments or legal conclusions, no answer is required. In answering the
    15   remaining allegations set forth within Paragraph 116 of the SAC, the ANSWERING
    16   DEFENDANTS are without sufficient information or belief on which to either
    17   admit or deny the remaining allegations contained therein, and on that basis, denies
    18   each and every allegation contained therein.
    19       117.     In answering Paragraph 117 of the SAC, the ANSWERING
    20   DEFENDANTS are without sufficient information or belief on which to either
    21   admit or deny the allegations contained therein, and on that basis, denies each and
    22   every allegation contained therein.
    23       118.     To the extent the allegations in Paragraph 118 of the SAC constitute
    24   legal arguments or legal conclusions, no answer is required. In answering the
    25   remaining allegations set forth within Paragraph 118 of the SAC, the ANSWERING
    26   DEFENDANTS are without sufficient information or belief on which to either
    27   admit or deny the remaining allegations contained therein, and on that basis, denies
    28   each and every allegation contained therein.
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     1       119.     To the extent the allegations in Paragraph 119 of the SAC constitute
     2   legal arguments or legal conclusions, no answer is required. In answering the
     3   remaining allegations set forth within Paragraph 119 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the remaining allegations contained therein, and on that basis, denies
     6   each and every allegation contained therein.
     7       120.     To the extent the allegations in Paragraph 120 of the SAC constitute
     8   legal arguments or legal conclusions, no answer is required. The ANSWERING
     9   DEFENDANTS deny that PLAINTIFF had no knowledge of the transfer of the
    10   Gopher Protocol, Inc. stock as alleged within the SAC. In answering the remaining
    11   allegations set forth within Paragraph 120 of the SAC, the ANSWERING
    12   DEFENDANTS are without sufficient information or belief on which to either
    13   admit or deny the remaining allegations contained therein, and on that basis, denies
    14   each and every allegation contained therein.
    15       121.     To the extent the allegations in Paragraph 121 of the SAC constitute
    16   legal arguments or conclusions, no answer is required. In answering the remaining
    17   allegations set forth within Paragraph 121 of the SAC, the ANSWERING
    18   DEFENDANTS are without sufficient information or belief on which to either
    19   admit or deny the remaining allegations contained therein, and on that basis, denies
    20   each and every allegation contained therein.
    21                               SIXTH CAUSE OF ACTION
    22        AIDING AND ABETTING CONSPIRACY RE STOCK FRAUD AND
    23                                        CONVERSION
    24                          (Against the BANKS and DOES 81-85)
    25       122.     In answering Paragraph 122 of the SAC, the ANSWERING
    26   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    27   through 121 of the SAC, as though fully set forth herein.
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     1       123.     To the extent the allegations in Paragraph 123 of the SAC constitute
     2   legal arguments or conclusions, no answer is required. In answering the remaining
     3   allegations set forth within Paragraph 123 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the remaining allegations contained therein, and on that basis, denies
     6   each and every allegation contained therein.
     7       124.     In answering Paragraph 124 of the SAC, the ANSWERING
     8   DEFENDANTS are without sufficient information or belief on which to either
     9   admit or deny the allegations contained therein, and on that basis, denies each and
    10   every allegation contained therein.
    11       125.     In answering Paragraph 125 of the SAC, the ANSWERING
    12   DEFENDANTS deny that GSS specifically furnished any false, forged, and/or
    13   inconsistent information to Defendant Citibank in connection with stock certificate
    14   nos. 368, 369, and 370. In answering the remaining allegations set forth within
    15   Paragraph 125 of the SAC, the ANSWERING DEFENDANTS are without
    16   sufficient information or belief on which to either admit or deny the remaining
    17   allegations contained therein, and on that basis, denies each and every allegation
    18   contained therein.
    19       126.     In answering Paragraph 126 of the SAC, the ANSWERING
    20   DEFENDANTS are without sufficient information or belief on which to either
    21   admit or deny the allegations contained therein, and on that basis, denies each and
    22   every allegation contained therein.
    23       127.     In answering Paragraph 127 of the SAC, the ANSWERING
    24   DEFENDANTS are without sufficient information or belief on which to either
    25   admit or deny the allegations contained therein, and on that basis, denies each and
    26   every allegation contained therein.
    27       128.     In answering Paragraph 128 of the SAC, the ANSWERING
    28   DEFENDANTS are without sufficient information or belief on which to either
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     1   admit or deny the allegations contained therein, and on that basis, denies each and
     2   every allegation contained therein.
     3       129.     In answering Paragraph 129 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the allegations contained therein, and on that basis, denies each and
     6   every allegation contained therein.
     7       130.     To the extent the allegations in Paragraph 130 of the SAC constitute
     8   legal arguments or conclusions, no answer is required. In answering the remaining
     9   allegations set forth within Paragraph 130 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the remaining allegations contained therein, and on that basis, denies
    12   each and every allegation contained therein.
    13       131.     To the extent the allegations in Paragraph 131 of the SAC constitute
    14   legal arguments or conclusions, no answer is required. In answering the remaining
    15   allegations set forth within Paragraph 131 of the SAC, the ANSWERING
    16   DEFENDANTS are without sufficient information or belief on which to either
    17   admit or deny the remaining allegations contained therein, and on that basis, denies
    18   each and every allegation contained therein.
    19       132.     In answering Paragraph 132 of the SAC, the ANSWERING
    20   DEFENDANTS are without sufficient information or belief on which to either
    21   admit or deny the allegations contained therein, and on that basis, denies each and
    22   every allegation contained therein.
    23       133.     In answering Paragraph 133 of the SAC, the ANSWERING
    24   DEFENDANTS are without sufficient information or belief on which to either
    25   admit or deny the allegations contained therein, and on that basis, denies each and
    26   every allegation contained therein.
    27       134.     To the extent the allegations in Paragraph 134 of the SAC constitute
    28   legal arguments or conclusions, no answer is required. In answering the remaining
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     1   allegations set forth within Paragraph 134 of the SAC, the ANSWERING
     2   DEFENDANTS are without sufficient information or belief on which to either
     3   admit or deny the remaining allegations contained therein, and on that basis, denies
     4   each and every allegation contained therein.
     5       135.     To the extent the allegations in Paragraph 135 of the SAC constitute
     6   legal arguments or conclusions, no answer is required. In answering the remaining
     7   allegations set forth within Paragraph 135 of the SAC, the ANSWERING
     8   DEFENDANTS are without sufficient information or belief on which to either
     9   admit or deny the remaining allegations contained therein, and on that basis, denies
    10   each and every allegation contained therein.
    11       136.     To the extent the allegations in Paragraph 136 of the SAC constitute
    12   legal arguments or conclusions, no answer is required. In answering the remaining
    13   allegations set forth within Paragraph 136 of the SAC, the ANSWERING
    14   DEFENDANTS are without sufficient information or belief on which to either
    15   admit or deny the remaining allegations contained therein, and on that basis, denies
    16   each and every allegation contained therein.
    17                             SEVENTH CAUSE OF ACTION
    18                                          Negligence
    19                            (Against REGINA and DOES 86-89)
    20       137.     In answering Paragraph 137 of the SAC, the ANSWERING
    21   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    22   through 136 of the SAC, as though fully set forth herein.
    23       138.     To the extent the allegations in Paragraph 138 of the SAC constitute
    24   legal arguments or conclusions, no answer is required.               The ANSWERING
    25   DEFENDANTS admit that REGINA is the former manager of PLAINTIFF and was
    26   solely authorized and responsible for governing and determining the actions of
    27   PLAINTIFF. In answering the remaining allegations set forth within Paragraph 138
    28   of the SAC, the ANSWERING DEFENDANTS are without sufficient information
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     1   or belief on which to either admit or deny the remaining allegations contained
     2   therein, and on that basis, denies each and every allegation contained therein.
     3       139.     To the extent the allegations in Paragraph 139 of the SAC constitute
     4   legal arguments or conclusions, no answer is required. In answering the remaining
     5   allegations set forth within Paragraph 139 of the SAC, the ANSWERING
     6   DEFENDANTS are without sufficient information or belief on which to either
     7   admit or deny the remaining allegations contained therein, and on that basis, denies
     8   each and every allegation contained therein.
     9       140.     In answering Paragraph 140 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the allegations contained therein, and on that basis, denies each and
    12   every allegation contained therein.
    13                              EIGHTH CAUSE OF ACTION
    14                                           (FRAUD)
    15    (Against REGINA and the other TRANSFER DEFENDANTS and DOES 70-80
    16                                           and 86-89)
    17       141.     In answering Paragraph 141 of the SAC, the ANSWERING
    18   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    19   through 140 of the SAC, as though fully set forth herein.
    20       142.     In answering Paragraph 142 of the SAC, the ANSWERING
    21   DEFENDANTS are without sufficient information or belief on which to either
    22   admit or deny the allegations contained therein, and on that basis, denies each and
    23   every allegation contained therein.
    24       143.     In answering Paragraph 143 of the SAC, the ANSWERING
    25   DEFENDANTS are without sufficient information or belief on which to either
    26   admit or deny the allegations contained therein, and on that basis, denies each and
    27   every allegation contained therein.
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     1       144.     In answering Paragraph 144 of the SAC, the ANSWERING
     2   DEFENDANTS are without sufficient information or belief on which to either
     3   admit or deny the allegations contained therein, and on that basis, denies each and
     4   every allegation contained therein.
     5       145.     In answering Paragraph 145 of the SAC, the ANSWERING
     6   DEFENDANTS are without sufficient information or belief on which to either
     7   admit or deny the allegations contained therein, and on that basis, denies each and
     8   every allegation contained therein.
     9       146.     In answering Paragraph 146 of the SAC, the ANSWERING
    10   DEFENDANTS admit that as manager of PLAINTIFF, REGINA was authorized
    11   by PLAINTIFF to manage its business, including making all business-related
    12   decisions. In answering the remaining allegations set forth within Paragraph 146 of
    13   the SAC, the ANSWERING DEFENDANTS are without sufficient information or
    14   belief on which to either admit or deny the remaining allegations contained therein,
    15   and on that basis, denies each and every allegation contained therein.
    16       147.     In answering Paragraph 147 of the SAC, the ANSWERING
    17   DEFENDANTS deny that they, either jointly or individually, retained consideration
    18   previously paid to PLAINTIFF or its authorized agents in connection with the
    19   alleged stock transfers. In answering the remaining allegations set forth within
    20   Paragraph 147 of the SAC, the ANSWERING DEFENDANTS are without
    21   sufficient information or belief on which to either admit or deny the remaining
    22   allegations contained therein, and on that basis, denies each and every allegation
    23   contained therein.
    24       148.     In answering Paragraph 148 of the SAC, the ANSWERING
    25   DEFENDANTS are without sufficient information or belief on which to either
    26   admit or deny the allegations contained therein, and on that basis, denies each and
    27   every allegation contained therein.
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     1       149.     In answering Paragraph 149 of the SAC, the ANSWERING
     2   DEFENDANTS admit that REGINA, while a manager and authorized
     3   representative of PLAINTIFF, unlawfully and fraudulently reported an erroneous
     4   police report with the Los Angeles Police Department.                The ANSWERING
     5   DEFENDANTS deny that any of them, either jointly or individually, engaged in
     6   any of the acts as alleged by PLAINTIFF within Paragraph 149 of the SAC. In
     7   answering the remaining allegations set forth within Paragraph 149 of the SAC, the
     8   ANSWERING DEFENDANTS are without sufficient information or belief on
     9   which to either admit or deny the remaining allegations contained therein, and on
    10   that basis, denies each and every allegation contained therein.
    11       150.     In answering Paragraph 150 of the SAC, the ANSWERING
    12   DEFENDANTS admit that REGINA, while acting on behalf of PLAINTIFF, and
    13   the other VAYNTER DEFENDANTS, as defined within PLAINTIFF’S SAC,
    14   erroneously and in bad-faith unlawfully filed the initial two complaints in this
    15   litigation against the ANSWERING DEFENDANTS based upon completely
    16   inaccurate allegations. The ANSWERING DEFENDANTS deny that they, either
    17   jointly or individually, engaged in any of the acts as alleged by PLAINTIFF within
    18   Paragraph 150 of the SAC. In answering the remaining allegations set forth within
    19   Paragraph 150 of the SAC, the ANSWERING DEFENDANTS are without
    20   sufficient information or belief on which to either admit or deny the remaining
    21   allegations contained therein, and on that basis, denies each and every allegation
    22   contained therein.
    23       151.     In answering Paragraph 151 of the SAC, the ANSWERING
    24   DEFENDANTS deny the allegations set forth therein.
    25       152.     In answering Paragraph 152 of the SAC, the ANSWERING
    26   DEFENDANTS are without sufficient information or belief on which to either
    27   admit or deny the allegations contained therein, and on that basis, denies each and
    28   every allegation contained therein.
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     1       153.     To the extent the allegations in Paragraph 153 of the SAC constitute
     2   legal arguments or conclusions, no answer is required. In answering the remaining
     3   allegations set forth within Paragraph 153 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the remaining allegations contained therein, and on that basis, denies
     6   each and every allegation contained therein.
     7       154.     In answering Paragraph 154 of the SAC, the ANSWERING
     8   DEFENDANTS are without sufficient information or belief on which to either
     9   admit or deny the allegations contained therein, and on that basis, denies each and
    10   every allegation contained therein.
    11                               NINTH CAUSE OF ACTION
    12                                (BREACH OF CONTRACT)
    13                            (Against REGINA and DOES 86-89)
    14      155.      In answering Paragraph 155 of the SAC, the ANSWERING
    15   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    16   through 154 of the SAC, as though fully set forth herein.
    17      156.      In answering Paragraph 156 of the SAC, the ANSWERING
    18   DEFENDANTS deny that the transfer of stock as alleged within the SAC was not
    19   authorized by PLAINTIFF. In answering the remaining allegations set forth within
    20   Paragraph 156 of the SAC, the ANSWERING DEFENDANTS are without
    21   sufficient information or belief on which to either admit or deny the remaining
    22   allegations contained therein, and on that basis, denies each and every allegation
    23   contained therein.
    24      157.      In answering Paragraph 157 of the SAC, the ANSWERING
    25   DEFENDANTS are without sufficient information or belief on which to either
    26   admit or deny the allegations contained therein, and on that basis, denies each and
    27   every allegation contained therein.
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     1      158.      In answering Paragraph 158 of the SAC, the ANSWERING
     2   DEFENDANTS are without sufficient information or belief on which to either
     3   admit or deny the allegations contained therein, and on that basis, denies each and
     4   every allegation contained therein.
     5      159.      In answering Paragraph 159 of the SAC, the ANSWERING
     6   DEFENDANTS admit that REGINA, while a manager and authorized
     7   representative of PLAINTIFF, unlawfully and fraudulently reported an erroneous
     8   police report with the Los Angeles Police Department. In answering the remaining
     9   allegations set forth within Paragraph 159 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the remaining allegations contained therein, and on that basis, denies
    12   each and every allegation contained therein.
    13      160.      In answering Paragraph 160 of the SAC, the ANSWERING
    14   DEFENDANTS admit that REGINA, while acting on behalf of PLAINTIFF, and
    15   the other VAYNTER DEFENDANTS, as defined within PLAINTIFF’S SAC
    16   erroneously and in bad-faith unlawfully filed the initial two complaints in this
    17   litigation against the ANSWERING DEFENDANTS based upon completely
    18   inaccurate allegations. In answering the remaining allegations set forth within
    19   Paragraph 160 of the SAC, the ANSWERING DEFENDANTS are without
    20   sufficient information or belief on which to either admit or deny the remaining
    21   allegations contained therein, and on that basis, denies each and every allegation
    22   contained therein.
    23      161.      In answering Paragraph 161 of the SAC, the ANSWERING
    24   DEFENDANTS deny the allegations set forth therein.
    25      162.      In answering Paragraph 162 of the SAC, the ANSWERING
    26   DEFENDANTS are without sufficient information or belief on which to either
    27   admit or deny the allegations contained therein, and on that basis, denies each and
    28   every allegation contained therein.
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     1      163.      To the extent the allegations in Paragraph 163 of the SAC constitute
     2   legal arguments or conclusions, no answer is required. In answering the remaining
     3   allegations set forth within Paragraph 163 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the remaining allegations contained therein, and on that basis, denies
     6   each and every allegation contained therein.
     7                              TENTH CAUSE OF ACTION
     8                            (BREACH OF FIDUCIARY DUTY)
     9    (Against REGINA and the other TRANSFER DEFENDANTS and DOES 70-80
    10                                           and 86-89)
    11       164.     In answering Paragraph 164 of the SAC, the ANSWERING
    12   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    13   through 163 of the SAC, as though fully set forth herein.
    14       165.     To the extent the allegations in Paragraph 165 of the SAC constitute
    15   legal arguments or conclusions, no answer is required.                The ANSWERING
    16   DEFENDANTS admit that REGINA is the former manager of PLAINTIFF and was
    17   solely responsible for governing and determining the actions of PLAINTIFF. In
    18   answering the remaining allegations set forth within Paragraph 165 of the SAC, the
    19   ANSWERING DEFENDANTS are without sufficient information or belief on
    20   which to either admit or deny the remaining allegations contained therein, and on
    21   that basis, denies each and every allegation contained therein.
    22       166.     To the extent the allegations in Paragraph 166 of the SAC constitute
    23   legal arguments or conclusions, no answer is required. In answering the remaining
    24   allegations set forth within Paragraph 166 of the SAC, the ANSWERING
    25   DEFENDANTS are without sufficient information or belief on which to either
    26   admit or deny the remaining allegations contained therein, and on that basis, denies
    27   each and every allegation contained therein.
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     1       167.     To the extent the allegations in Paragraph 167 of the SAC constitute
     2   legal arguments or conclusions, no answer is required. In answering the remaining
     3   allegations set forth within Paragraph 167 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the remaining allegations contained therein, and on that basis, denies
     6   each and every allegation contained therein.
     7       168.     In answering Paragraph 168 of the SAC, the ANSWERING
     8   DEFENDANTS admit that REGINA, while a manager and authorized
     9   representative of PLAINTIFF, unlawfully and fraudulently reported an erroneous
    10   police report with the Los Angeles Police Department. In answering the remaining
    11   allegations set forth within Paragraph 168 of the SAC, the ANSWERING
    12   DEFENDANTS are without sufficient information or belief on which to either
    13   admit or deny the remaining allegations contained therein, and on that basis, denies
    14   each and every allegation contained therein.
    15       169.     In answering Paragraph 169 of the SAC, the ANSWERING
    16   DEFENDANTS admit that REGINA, while acting on behalf of PLAINTIFF, and
    17   the other VAYNTER DEFENDANTS, as defined within PLAINTIFF’S SAC
    18   erroneously and in bad-faith unlawfully filed the initial two complaints in this
    19   litigation against the ANSWERING DEFENDANTS based upon completely
    20   inaccurate allegations. In answering the remaining allegations set forth within
    21   Paragraph 169 of the SAC, the ANSWERING DEFENDANTS are without
    22   sufficient information or belief on which to either admit or deny the remaining
    23   allegations contained therein, and on that basis, denies each and every allegation
    24   contained therein.
    25       170.     In answering Paragraph 170 of the SAC, the ANSWERING
    26   DEFENDANTS deny the allegations set forth therein.
    27       171.     To the extent the allegations in Paragraph 171 of the SAC constitute
    28   legal arguments or conclusions, no answer is required. In answering the remaining
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     1   allegations set forth within Paragraph 171 of the SAC, the ANSWERING
     2   DEFENDANTS are without sufficient information or belief on which to either
     3   admit or deny the remaining allegations contained therein, and on that basis, denies
     4   each and every allegation contained therein.
     5       172.     To the extent the allegations in Paragraph 172 of the SAC constitute
     6   legal arguments or conclusions, no answer is required. In answering the remaining
     7   allegations set forth within Paragraph 172 of the SAC, the ANSWERING
     8   DEFENDANTS are without sufficient information or belief on which to either
     9   admit or deny the remaining allegations contained therein, and on that basis, denies
    10   each and every allegation contained therein.
    11       173.     To the extent the allegations in Paragraph 173 of the SAC constitute
    12   legal arguments or conclusions, no answer is required.               The ANSWERING
    13   DEFENDANTS deny that they, either jointly or individually, at any time as alleged
    14   within the SAC acted oppressively, maliciously, with a conscious disregard of the
    15   rights of others, and with the intent to defraud Plaintiff. In answering the remaining
    16   allegations set forth within Paragraph 173 of the SAC, the ANSWERING
    17   DEFENDANTS are without sufficient information or belief on which to either
    18   admit or deny the remaining allegations contained therein, and on that basis, denies
    19   each and every allegation contained therein.
    20                            ELEVENTH CAUSE OF ACTION
    21                                       (CONSPIRACY)
    22                                   (Against all Defendants)
    23       174.     In answering Paragraph 174 of the SAC, the ANSWERING
    24   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    25   through 173 of the SAC, as though fully set forth herein.
    26       175.     In answering Paragraph 175 of the SAC, the ANSWERING
    27   DEFENDANTS are without sufficient information or belief on which to either
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     1   admit or deny the allegations contained therein, and on that basis, denies each and
     2   every allegation contained therein.
     3       176.      In answering Paragraph 176 of the SAC, the ANSWERING
     4   DEFENDANTS deny that any of them, either jointly or individually, engaged in
     5   any of the actions set forth within Paragraph 176 of the SAC and further deny that
     6   any of them, either jointly or individually are liable to PLAINTIFF in any manner,
     7   whatsoever.
     8       177.      To the extent the allegations in Paragraph 177 of the SAC constitute
     9   legal arguments or conclusions, no answer is required. In answering the remaining
    10   allegations set forth within Paragraph 177 of the SAC, the ANSWERING
    11   DEFENDANTS are without sufficient information or belief on which to either
    12   admit or deny the remaining allegations contained therein, and on that basis, denies
    13   each and every allegation contained therein.
    14       178.      In answering Paragraph 177 of the SAC, the ANSWERING
    15   DEFENDANTS deny that any of them, either jointly or individually, at any time
    16   alleged therein acted oppressively, maliciously, with a conscious disregard of the
    17   rights of others, and with the intent to defraud Plaintiff and further deny that
    18   PLAINTIFF is entitled to punitive damages.
    19                            TWELFTH CAUSE OF ACTION
    20                 (VIOLATION OF FEDERAL CIVIL RICO STATUTE)
    21                                   (Against all Defendants)
    22      179.       In answering Paragraph 179 of the SAC, the ANSWERING
    23   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    24   through 178 of the SAC, as though fully set forth herein.
    25      180.       To the extent the allegations in Paragraph 180 of the SAC constitute
    26   legal arguments or conclusions, no answer is required. In answering the remaining
    27   allegations set forth within Paragraph 180 of the SAC, the ANSWERING
    28   DEFENDANTS are without sufficient information or belief on which to either
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     1   admit or deny the remaining allegations contained therein, and on that basis, denies
     2   each and every allegation contained therein.
     3         181.   In answering Paragraph 181 of the SAC, this paragraph contains no
     4   factual allegations and therefore the ANSWERING DEFENDANTS are not
     5   required to provide a response.
     6         182.   To the extent the allegations in Paragraph 182 of the SAC constitute
     7   legal arguments or conclusions, no answer is required. In answering the remaining
     8   allegations set forth within Paragraph 182 of the SAC, the ANSWERING
     9   DEFENDANTS are without sufficient information or belief on which to either
    10   admit or deny the remaining allegations contained therein, and on that basis, denies
    11   each and every allegation contained therein.
    12         183.   In answering Paragraph 183 of the SAC, the ANSWERING
    13   DEFENDANTS deny the allegations set forth therein.
    14         184.   In answering Paragraph 184 of the SAC, the ANSWERING
    15   DEFENDANTS deny the allegations set forth therein.
    16         185.   In answering Paragraph 185 of the SAC, the ANSWERING
    17   DEFENDANTS deny the allegations set forth therein.
    18         186.   In answering Paragraph 186 of the SAC, the ANSWERING
    19   DEFENDANTS deny the allegations set forth therein.
    20         187.   To the extent the allegations in Paragraph 187 of the SAC constitute
    21   legal arguments or conclusions, no answer is required. In answering the remaining
    22   allegations set forth within Paragraph 187 of the SAC, the ANSWERING
    23   DEFENDANTS deny the allegations set forth therein.
    24         188.   In answering Paragraph 188 of the SAC, the ANSWERING
    25   DEFENDANTS deny the allegations set forth therein.
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    27   ///
    28   ///
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     1                          THIRTEENTH CAUSE OF ACTION
     2         (CONSPIRACY TO VIOLATE FEDERAL CIVIL RICO STATUTE)
     3                                   (Against all Defendants)
     4      189.      In answering Paragraph 189 of the SAC, the ANSWERING
     5   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
     6   through 188 of the SAC, as though fully set forth herein.
     7      190.      In answering Paragraph 190 of the SAC, the ANSWERING
     8   DEFENDANTS deny the allegations set forth therein.
     9      191.      In answering Paragraph 191 of the SAC, the ANSWERING
    10   DEFENDANTS deny the allegations set forth therein.
    11      192.      In answering Paragraph 192 of the SAC, the ANSWERING
    12   DEFENDANTS deny the allegations set forth therein.
    13      193.      To the extent the allegations in Paragraph 193 of the SAC constitute
    14   legal arguments or conclusions, no answer is required. In answering the remaining
    15   allegations set forth within Paragraph 193 of the SAC, the ANSWERING
    16   DEFENDANTS deny the allegations set forth therein.
    17      194.      In answering Paragraph 194 of the SAC, the ANSWERING
    18   DEFENDANTS deny the allegations set forth therein.
    19                         FOURTEENTH CAUSE OF ACTION
    20                                      (ACCOUNTING)
    21                            (Against REGINA and DOES 86-89)
    22      195.      In answering Paragraph 195 of the SAC, the ANSWERING
    23   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    24   through 194 of the SAC, as though fully set forth herein.
    25      196.      In answering Paragraph 196, the ANSWERING DEFENDANTS admit
    26   that REGINA is the former manager of PLAINTIFF and was solely responsible and
    27   authorized for acting upon its behalf. In answering the remaining allegations set
    28   forth within Paragraph 196 of the SAC, the ANSWERING DEFENDANTS are
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     1   without sufficient information or belief on which to either admit or deny the
     2   remaining allegations contained therein, and on that basis, denies each and every
     3   allegation contained therein.
     4      197.      In answering Paragraph 197 of the SAC, the ANSWERING
     5   DEFENDANTS are without sufficient information or belief on which to either
     6   admit or deny the allegations contained therein, and on that basis, denies each and
     7   every allegation contained therein.
     8      198.      To the extent the allegations in Paragraph 198 of the SAC constitute
     9   legal arguments or conclusions, no answer is required. In answering the remaining
    10   allegations set forth within Paragraph 198 of the SAC, the ANSWERING
    11   DEFENDANTS are without sufficient information or belief on which to either
    12   admit or deny the remaining allegations contained therein, and on that basis, denies
    13   each and every allegation contained therein.
    14                           FIFTEENTH CAUSE OF ACTION
    15     (FOR UNLAWFUL, FRAUDULENT & UNFAIR BUSINESS PRACTICES
    16      [CALIFORNIA BUSINESS & PROFESSIONS CODE §§ 17200, ET SEQ.]
    17                                   (Against all Defendants)
    18      199.      In answering Paragraph 199 of the SAC, the ANSWERING
    19   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    20   through 198 of the SAC, as though fully set forth herein.
    21      200.      In answering Paragraph 200 of the SAC, the ANSWERING
    22   DEFENDANTS deny the allegations set forth therein.
    23      201.      To the extent the allegations in Paragraph 201 of the SAC constitute
    24   legal arguments or conclusions, no answer is required. In answering the remaining
    25   allegations set forth within Paragraph 201 of the SAC, the ANSWERING
    26   DEFENDANTS deny the allegations set forth therein.
    27      202.      To the extent the allegations in Paragraph 202 of the SAC constitute
    28   legal arguments or conclusions, no answer is required. In answering the remaining
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     1   allegations set forth within Paragraph 202 of the SAC, the ANSWERING
     2   DEFENDANTS deny the allegations set forth therein.
     3      203.      To the extent the allegations in Paragraph 203 of the SAC constitute
     4   legal arguments or conclusions, no answer is required. In answering the remaining
     5   allegations set forth within Paragraph 203 of the SAC, the ANSWERING
     6   DEFENDANTS deny the allegations set forth therein.
     7                           SIXTEENTH CAUSE OF ACTION
     8                                (DECLARATORY RELIEF)
     9                                   (Against all Defendants)
    10      204.      In answering Paragraph 204 of the SAC, the ANSWERING
    11   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    12   through 203 of the SAC, as though fully set forth herein.
    13      205.      In answering Paragraph 205 of the SAC, the ANSWERING
    14   DEFENDANTS deny that PLAINTIFF never authorized the sale or transfer of any
    15   of the Gopher shares held in its name. The ANSWERING DEFENDANTS also
    16   deny that GALINA was not PLAINTIFF’S agent for any purpose and deny that
    17   REGINA did not have authority to sell or transfer any of PLAINTIFF’S assets. THE
    18   ANSWERING DEFENDANTS further deny that PLANTIFF did not authorize the
    19   sale of any of its Gopher stock, or stock certificates to SAPA or SAPA GROUP,
    20   who the PLAINTIFF’S mischaracterizes as “SP” in their SAC. The ANSWERING
    21   DEFENDANTS further deny that PLAINTIFF is entitled to judgement for damages,
    22   injunction and otherwise against the ANSWERING DEFENDANTS and deny that
    23   PLAINTIFF is entitled to a return of the shares that the ANSWERING
    24   DEFENDANTS held and/or may currently hold. In answering the remaining
    25   allegations set forth within Paragraph 205 of the SAC, the ANSWERING
    26   DEFENDANTS are without sufficient information or belief on which to either
    27   admit or deny the remaining allegations contained therein, and on that basis, denies
    28   each and every allegation contained therein.
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     1      206.      To the extent the allegations in Paragraph 206 of the SAC constitute
     2   legal arguments or conclusions, no answer is required. In answering the remaining
     3   allegations set forth within Paragraph 206 of the SAC, the ANSWERING
     4   DEFENDANTS are without sufficient information or belief on which to either
     5   admit or deny the remaining allegations contained therein, and on that basis, denies
     6   each and every allegation contained therein.
     7      207.      To the extent the allegations in Paragraph 207 of the SAC constitute
     8   legal arguments or conclusions, no answer is required. In answering the remaining
     9   allegations set forth within Paragraph 207 of the SAC, the ANSWERING
    10   DEFENDANTS are without sufficient information or belief on which to either
    11   admit or deny the remaining allegations contained therein, and on that basis, denies
    12   each and every allegation contained therein.
    13                         SEVENTEENTH CAUSE OF ACTION
    14                               (FOR INJUNCTIVE RELIEF)
    15                (Against the TRANSFER DEFENDANTS and Does 1-89)
    16      208.      In answering Paragraph 208 of the SAC, the ANSWERING
    17   DEFENDANTS repeat and incorporate their responses to each of the paragraphs 1
    18   through 207 of the SAC, as though fully set forth herein.
    19      209.      The ANSWERING DEFENDANTS deny that this Court should issue
    20   a temporary, preliminary and/or permanent injunction against the ANSWERING
    21   DEFENDANTS and deny that this Court should order that any Gopher stock or
    22   proceeds from said stock that may be within the ANSWERING DEFENDANTS
    23   possession should be turned over to PLAINTIFF as the ANSWERING
    24   DEFENDANTS deny that they, either jointly or individually, engaged in the actions
    25   set forth within the SAC and/or are liable to PLAINTIFF in any manner whatsoever.
    26   The ANSWERING DEFENDANTS further deny that they, either jointly or
    27   individually, will be unjustly enriched in any manner whatsoever. In answering the
    28   remaining allegations set forth within Paragraph 208 of the SAC, the ANSWERING
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     1   DEFENDANTS are without sufficient information or belief on which to either
     2   admit or deny the remaining allegations contained therein, and on that basis, denies
     3   each and every allegation contained therein.
     4      210.      In answering Paragraph 210 of the SAC to which PLAINTIFF
     5   mischaracterizes as Paragraph 211, the ANSWERING DEFENDANTS deny the
     6   allegations set forth therein.
     7      211.      In answering Paragraph 211 of the SAC to which PLAINTIFF
     8   mischaracterizes as Paragraph 202, the ANSWERING DEFENDANTS deny the
     9   allegations set forth therein.
    10      212.      In answering Paragraph 212 of the SAC to which PLAINTIFF
    11   mischaracterizes as Paragraph 203, the ANSWERING DEFENDANTS deny the
    12   allegations set forth therein.
    13      213.      To the extent the allegations in Paragraph 213 of the SAC to which
    14   PLAINTIFF mischaracterizes as Paragraph 204 constitute legal arguments or
    15   conclusions, no answer is required. In answering the remaining allegations set forth
    16   within Paragraph 213 of the SAC, the ANSWERING DEFENDANTS deny the
    17   allegations set forth therein.
    18                                AFFIRMATIVE DEFENSES
    19                           FIRST AFFIRMATIVE DEFENSE
    20                               (Failure to State a Cause of Action)
    21        1.      The ANSWERING DEFENDANTS allege that each purported cause
    22   of action in the SAC fails to state facts sufficient to state a cause of action against
    23   the ANSWERING DEFENDANTS upon which relief may be granted.
    24                         SECOND AFFIRMATIVE DEFENSE
    25                               (No Capacity to Maintain Action)
    26        2.      The ANSWERING DEFENDANTS allege that each purported cause
    27   of action in the SAC fails as PLAINTIFF does not have capacity to maintain an
    28   action within this State.
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     1                           THIRD AFFIRMATIVE DEFENSE
     2                                     (Failure to Mitigate)
     3        3.      The ANSWERING DEFENDANTS allege on information and belief
     4   that PLAINTIFF failed to mitigate its alleged damages and, therefore, is barred
     5   from recovery in whole or in part.
     6                         FOURTH AFFIRMATIVE DEFENSE
     7                                    (Statutes of Limitation)
     8         4.     The PLAINTIFF’S claims are barred, in whole or in part, by operation
     9   of all applicable statutes of limitations.
    10                           FIFTH AFFIRMATIVE DEFENSE
    11                              (Superseding, Intervening Acts)
    12         5.     PLAINTIFF’S alleged damages were caused in whole or in part by the
    13   superseding, intervening acts or omissions of persons other than the ANSWERING
    14   DEFENDANTS and omissions of another or others, whose conduct the
    15   ANSWERING DEFENDANTS had no reason to anticipate and for whose conduct
    16   the ANSWERING DEFENDANTS were not and are not responsible.
    17                           SIXTH AFFIRMATIVE DEFENSE
    18                                          (Causation)
    19         6.     PLAINTIFF is barred, in whole or in part, from recovering from the
    20   ANSWERING DEFENDANTS on any of its claims because there is no causal
    21   relationship between any of the alleged damages, the claims alleged to have been
    22   suffered, and any act or omission of the ANSWERING DEFENDANTS.
    23                         SEVENTH AFFIRMATIVE DEFENSE
    24                        (Contribution by PLAINTIFF’S Own Acts)
    25         7.     The ANSWERING DEFENDANTS allege that the injuries and/or
    26   damages alleged by the PLAINTIFF were directly and/or proximately caused by,
    27   occurred, and/or was contributed to by PLAINTIFF’S own acts or failures to act.
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     1                          EIGHTH AFFIRMATIVE DEFENSE
     2                                 (Legitimate Considerations)
     3         8.     All actions taken by the ANSWERING DEFENDANTS with regard
     4   to the PLAINTIFF were based solely upon legitimate considerations.
     5                          NINETH AFFIRMATIVE DEFENSE
     6                              (Equitable Doctrine of Estoppel)
     7         9.     PLAINTIFF is estopped from asserting and/or recovering on any
     8   claims against the ANSWERING DEFENDANT by reason of PLAINTIFF’S own
     9   acts, omissions and conduct.
    10                          TENTH AFFIRMATIVE DEFENSE
    11                               (Equitable Doctrine of Waiver)
    12         10.    PLAINTIFF is barred by the equitable doctrine of waiver from
    13   asserting any claim against the ANSWERING DEFENDANTS.
    14                       ELEVENTH AFFIRMATIVE DEFENSE
    15                          (Equitable Doctrine of Unclean Hands)
    16         11.    PLAINTIFF is barred by the equitable doctrine of unclean hands from
    17   asserting any claim against the ANSWERING DEFENDANTS.
    18                        TWELFTH AFFIRMATIVE DEFENSE
    19                                    (PLAINTIFF’S Fault)
    20         12.    PLAINTIFF’S claims are barred in whole or in part by PLAINTIFF’S
    21   own negligence, unclean hands, fault, assumption of the risk, fraudulent conduct,
    22   or otherwise from any and all legal or equitable relief against the ANSWERING
    23   DEFENDANTS, as requested by PLAINTIFF’S in the SAC.
    24                      THIRTEENTH AFFIRMATIVE DEFENSE
    25                                        (No Damages)
    26         13.    The SAC, including each cause of action contained therein, is barred
    27   because PLAINTIFF has not suffered, and have not properly pled, damages as a
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     1   result of any of the purported conduct of the ANSWERING DEFENDANTS as
     2   alleged in the SAC.
     3                     FOURTEENTH AFFIRMATIVE DEFENSE
     4                                     (Unjust Enrichment)
     5         14.    The SAC, including each cause of action contained therein, is barred
     6   because PLAINTIFF would be unjustly enriched if it prevailed on the SAC.
     7                       FIFTEENTH AFFIRMATIVE DEFENSE
     8                                      (Statute of Frauds)
     9         15.    To the extent PLAINTIFF’S claims and contentions are based on oral
    10   agreements allegedly made to PLAINTIFF, those claims are barred as against the
    11   ANSWERING DEFENDANTS because the oral agreements alleged in the SAC are
    12   unenforceable and barred by the statute of frauds.
    13                       SIXTEENTH AFFIRMATIVE DEFENSE
    14                                         (Ratification)
    15         16.    The SAC, including each cause of action contained therein, is barred
    16   by PLAINTIFF’S ratification of the actions allegedly undertaken.
    17                     SEVENTEENTH AFFIRMATIVE DEFENSE
    18                                 (Compliance with Contract)
    19         17.    To the extent PLAINTIFF’S claims and contentions are based on any
    20   agreement, the SAC, including each cause of action contained therein, is barred by
    21   virtue of the fact that the ANSWERING DEFENDANTS have fully performed,
    22   discharged, and satisfied all obligations and duties imposed upon them by contract.
    23                      EIGHTEENTH AFFIRMATIVE DEFENSE
    24                                           (Consent)
    25         18.    The SAC, including each cause of action contained therein, is barred
    26   by PLAINTIFF’S consent to the actions allegedly undertaken.
    27   ///
    28   ///
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     1                      NINETEENTH AFFIRMATIVE DEFENSE
     2                                   (Compliance with Law)
     3         19.    The SAC, including each cause of action contained therein, is barred
     4   by virtue of the fact that the ANSWERING DEFENDANTS have fully performed,
     5   discharged, and satisfied all obligations and duties imposed on them by law.
     6                      TWENTIETH AFFIRMATIVE DEFENSE
     7                                     (Comparative Fault)
     8         20.    PLAINTIFF’S recovery, if any, must be reduced proportionally to the
     9   extent that any damages by PLAINTIFF were caused and contributed to by
    10   PLAINTIFF’S own actions and/or failure to act.
    11                    TWENTY-FIRST AFFIRMATIVE DEFENSE
    12                                           (Waiver)
    13         21.    The ANSWERING DEFENDANTS are informed and believe and
    14   thereon allege that PLAINTIFF has waived its rights, if any, to obtain the relief
    15   sought in the SAC.
    16                   TWENTY-SECOND AFFIRMATIVE DEFENSE
    17                                           (No Duty)
    18         22.    The SAC, including each cause of action contained therein, is barred
    19   by virtue of the fact that the ANSWERING DEFENDANTS did not owe any duty
    20   to PLAINTIFF, as alleged.
    21                    TWENTY-THIRD AFFIRMATIVE DEFENSE
    22                                            (Offset)
    23         23.    The SAC, including each cause of action contained therein, is barred,
    24   in whole or in part, by virtue of offsets to which the ANSWERING DEFENDANTS
    25   are entitled by way of PLAINTIFF’S wrongful conduct.
    26   ///
    27   ///
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     1                    TWENTY-FOURTH AFFIRMATIVE DEFENSE
     2                                     (No Representations)
     3             24.   To the extent PLAINTIFF’S claims and contentions are based on
     4   representations allegedly made to PLAINTIFF, those claims are barred as against
     5   the ANSWERING DEFENDANTS by virtue of the fact that no such
     6   representations were made by the ANSWERING DEFENDANTS or anyone on the
     7   ANSWERING DEFENDANTS’ behalf.
     8                      TWENTY-FIFTH AFFIRMATIVE DEFENSE
     9                                         (No Reliance)
    10             25.   PLAINTIFF did not rely on any representations or conduct of the
    11   ANSWERING DEFENDANTS, and therefore the ANSWERING DEFENDANTS
    12   are not responsible for any damages, if any there be.
    13                      TWENTY-SIXTH AFFIRMATIVE DEFENSE
    14                                         (Justification)
    15             26.   The claims and contentions of the PLAINTIFF are barred by virtue of
    16   the fact that the ANSWERING DEFENDANTS’ acts were justified.
    17                    TWENTY-SEVENTH AFFIRMATIVE DEFENSE
    18                                            (Laches)
    19             27.   The claims and contentions of PLAINTIFF are barred by the doctrine
    20   of laches.
    21                     TWENTY-EIGHTH AFFIRMATIVE DEFENSE
    22                          (Conditions Precedent Based on Statute)
    23             28.   To the extent that PLAINTIFF is seeking recovery against the
    24   ANSWERING DEFENDANTS based on a statute, PLAINTIFF failed to comply
    25   with one or more conditions precedent, and therefore PLAINTIFF is not entitled to
    26   relief.
    27   ///
    28   ///
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     1                   TWENTY-NINETH AFFIRMATIVE DEFENSE
     2                         (No Entitlement to Pre-Judgment Interest)
     3         29.    The SAC, and each purported cause of action therein, fails to state facts
     4   sufficient to entitle PLAINTIFF to an award of pre-judgment interest.
     5                       THIRTIETH AFFIRMATIVE DEFENSE
     6                            (No Entitlement to Attorneys’ Fees)
     7         30.    The SAC, and each purported cause of action therein, fails to state facts
     8   which would support an award of attorneys’ fees to PLAINTIFF.
     9                     THIRTY-FIRST AFFIRMATIVE DEFENSE
    10                  (ANSWERING DEFENDANTS Entitlement to Costs)
    11         31.    The ANSWERING DEFENDANTS have engaged the law firm of The
    12   Hakala Law Group, P.C. to represent them in the defense of PLAINTIFFS’
    13   frivolous, unfounded, and unreasonable SAC. The ANSWERING DEFENDANTS
    14   are thereby entitled to all costs, expenses, and attorneys’ fees incurred in defending
    15   against those causes of action pursuant to Federal Rules of Civil Procedure, Rule
    16   54 and California Code of Civil Procedure, Section 128.5 et seq.
    17                   THIRTY-SECOND AFFIRMATIVE DEFENSE
    18                                       (Other Defenses)
    19         32.    To the extent not set forth herein, the ANSWERING DEFENDANTS
    20   reserve the right to assert additional defenses that become available or apparent
    21   during discovery and to amend their Answer accordingly.
    22   ///
    23   ///
    24   ///
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     1         WHEREFORE, the ANSWERING DEFENDANTS pray for judgment as
     2   follows:
     3         I.     That PLAINTIFF take nothing by its SAC;
     4         II.    That the SAC be dismissed in its entirety, with prejudice;
     5         III.   That the ANSWERING DEFENDANTS be awarded their cost of suit,
     6   reasonable attorneys’ fees, and expert witness fees incurred in this action; and
     7         IV.    That the ANSWERING DEFENDANTS be awarded such other relief
     8   as this Court deems proper.
     9

    10   Dated: September 24, 2018                      THE HAKALA LAW GROUP, P.C.
    11
                                                        By: /s/ Brad A. Hakala
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                                                        Ryan N. Ostrowski, Esq.
    13                                                  The Hakala Law Group, P.C.
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    15
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                                                        GSS Group, LLC, Sapa Group, LLC,
    17                                                  Gary Shirinyan, Ievgeniia Sapa,
                                                        Vladimir Hanin, HJK Trade, Inc., Hovik
    18                                                  Kostandyan
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